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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


UNITED STATES OF AMERICA,                       )
                                                )
            Plaintiff,                          )
                                                )
      vs.                                       )           Case No. 4:07CR00081 HEA (AGF)
                                                )
JESUS ENRIQUE VALDES,                           )
RUBEN VERDUGO, and                              )
ROSETTA MAENELLE BRISTON                        )
                                                )
            Defendants.                         )


                                              ORDER

       This matter is before the Court on the motion of Defendant Jesus Enrique Valdes for

additional time to file pretrial motions (Doc. #56). Upon review of the motion, and for good

cause shown,

       IT IS HEREBY ORDERED that the motion of Defendant Jesus Enrique Valdes for

additional time (Doc. #56) is GRANTED. Defendant shall have until Wednesday, February 28,

2007, to file pretrial motions or waiver of motions. The government shall have until Tuesday,

March 6, 2007, to respond.

       IT IS FURTHER ORDERED that the evidentiary hearing with respect to the motions

filed by all Defendants in this case shall be rescheduled for Thursday, March 8, 2007, at 1:00

p.m. All Defendants are required to attend.



                                                    ____________________________________
                                                    AUDREY G. FLEISSIG
                                                    UNITED STATES MAGISTRATE JUDGE

Dated this 21st day of February, 2007.
